Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 1 of 23 PagelD #: 19

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

FS eae X Docket#
UNITED STATES OF AMERICA, >: 21-cr-00042-WFK-1

- versus - : U.S. Courthouse
: Brooklyn, New York

DARREN CHARLES STEWART, : January 28, 2021
Defendant : 3:45 PM

TRANSCRIPT OF CRIMINAL CAUSE FOR PROCEEDING
BEFORE THE HONORABLE CHERYL L. POLLAK
UNITED STATES MAGISTRATE JUDGE

A Pp P EF A R A N CES:
(TELEPHONICALLY)

For the Government: Seth DuCharme, Esq.
Acting U.S. Attorney

BY: Tara McGrath, Esq.
Assistant U.S. Attorney
271 Cadman Plaza East
Brooklyn, New York 11201

For the Defendant: Vinoo Varghese, Esq.
Gregory Marshall, Esq.
Varghese & Associates, P.C.
2 Wall Street
New York, NY 10005

Transcription Service: Transcriptions Plus II, Inc.
61 Beatrice Avenue
West Islip, New York 11795
laferrara44@qmail.com

Proceedings recorded by electronic sound-recording,
transcript produced by transcription service

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 2 of 23 PagelD #: 20

Proceedings

1 THE CLERK: Criminal Cause for Arraignment,
2|case number 21-cr-42, United States v. Darren Stewart.
3 Counsel starting with the government, please

4 | state your appearances.

5 MS. MCGRATH: Good afternoon, your Honor.

6 Tara McGrath for the government.

7 THE COURT: Good afternoon.

8 MR. VARGHESE: Varghese & Associates by Vinoo

9|Varghese and Gregory Marshall, 2 Wall Street, for Mr.

10 | Stewart.

11 Good afternoon, your Honor.
12 THE COURT: Good afternoon.
13 Mr. Stewart, I take it that you understand

14 | English.

15 THE DEFENDANT: Yes, I do, your Honor.

16 THE COURT: Okay. The (audio interference)
17 | anything that's said during these proceedings that you do
18 | not understand, please tell me, all right?

19 THE DEFENDANT: Yes, your Honor.

20 THE COURT: Okay. The first issue I want to
21 | deal with this afternoon is your consent to proceed by
22 |way of a video conference. Normally, we'd be in the
23 | courthouse, you'd be there with your attorneys, the

24 | government's attorney would be there, I would be there

25 | and we would proceed in person but because of the COVID-

Transcriptions Plus II, Inc.
Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 3 of 23 PagelD #: 21

24

25

Proceedings

19 pandemic, virtually all of the proceedings in person
in the courthouse have stopped.

Now Congress has authorized us to proceed by
way of a video conference for this proceeding if you
agree to do that.

Mr. Varghese, have you discussed this with your
client?

MR. VARGHESE: Yes, we did last night, your
Honor.

THE COURT: All right. Does he consent to
proceed by way of video conference?

MR. VARGHESE: Yes, he does.

THE COURT: Okay. Is that correct, Mr.
Stewart? Do you agree to proceed this afternoon by way
of video conference?

MR. VARGHESE: Yes, your Honor.

THE COURT: Okay. Now you're here today
because the grand jury has returned an indictment
charging you with seven counts. The first six counts
charge you with distribution of child pornography.
Essentially, you've been charged with knowingly and
intentionally distributing visual depictions using a
means of interstate and foreign commerce in which minors
engaged in sexually explicit conduct were depicted, all

in violation of United States law and the last count,

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 4 of 23 PagelD #: 22

24

25

Proceedings

Count 7, charge you with possession of child pornography.

First of all, have you reviewed the charges in
the indictment with your attorney?

THE DEFENDANT: Yes, your Honor.

THE COURT: Okay. Mr. Varghese, have you
reviewed the indictment with your client and advised him
of his rights?

MR. VARGHESE: Yes. Mr. Marshall, who is fully
employed here at Varghese & Associates, read through the
indictment with him. We will be filing a notice of
appearance for Mr. Marshall shortly, we just haven't done
it yet, your Honor but he read through the indictment.
He's sitting right next to me, he (audio interference)
indictment with him.

MR. MARSHALL: Yes, Judge, I did (audio
interference).

THE COURT: Okay. And do you have any concern
following your review of the indictment with your client
as to whether or not he understands the charges?

MR. MARSHALL: No, Judge. He understands the
charges. I gave him an opportunity to ask questions as
well and he indicated he understands the charges.

THE COURT: And is he prepared to enter a plea
today?

MR. VARGHESE: Yes, of not guilty, your Honor.

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 5 of 23 PagelD #: 23

24

25

Proceedings

THE COURT: To all seven counts, I assume?

MR. VARGHESE: Yes. Yes, your Honor. Thank
you.

THE COURT: Okay. Mr. Stewart, I want to
advise you that you have the right to remain silent.
Anything you say except what you say to your attorneys
can be used against you.

Do you understand that?

THE DEFENDANT: Yes, your Honor.

THE COURT: Now I also want to make sure you
understand that you have the right to be represented by
an attorney in connection with these charges. My
understanding is that you have retained counsel in this
matter. If for some reason, you cannot afford counsel,
the Court will appoint an attorney for you.

Do you understand that?

THE DEFENDANT: Yes, your Honor.

THE COURT: Okay. Ms. McGrath, do we have a
date for Mr. Stewart to appear before the district judge
in this matter?

MS. MCGRATH: Your Honor, I am conferring with
Judge Kuntz's deputy and am seeking something the week of
March 9th but nothing as of yet has been set.

THE COURT: Okay. Well, let me ask this

question. What are we going to do with respect to the

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 6 of 23 PagelD #: 24

24

25

Proceedings
question of bail?

MS. MCGRATH: Your Honor, the government is
seeking detention and I understand defense counsel would
like to make a bail proposal.

THE COURT: Okay. But what's the basis for the
government to request detention in the first instance?

MS. MCGRATH: Your Honor, the defendant is
charged with six counts of distributing child pornography
and one count of possessing child pornography between
January (audio interference) through November 2020. The
evidence indicates he is a prolific collector of child
pornography. He has a collection comprising thousands of
videos which he stores and shares ina variety of
platforms. He's also an Australian National who is
formerly working for the Australian Trade Commission.

Under 18 USC 3142(e) (3) (E), there is a
rebuttable presumption of detention and in light of his
foreign ties and the extremely serious nature of the
charged offenses, the government feels there's no
combination or condition that could reasonably assure his
appearance or the safety of any other person or the
community.

And just looking at the four factors outlined
in the Bail Reform Act, each of them weighs in favor of

his detention. The first being the nature and

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 7 of 23 PagelD #: 25

24

25

Proceedings

circumstances of the crime, on numerous occasions over a
month long period, the defendant distributed child
pornography to undercover agents on (audio interference)
platform. These videos involved young children, many of
whom were toddlers being sexually abused by adults.

The defendant professed to having a favorite
video, (audio interference) in Count 4, is almost 16
minutes long, depicting a toddler who appears to be
drugged being anally penetrated by an adult. This is the
tip of the iceberg in terms of the defendant's
collection.

He also possessed child pornography involving
prepubescent children on an electronic hard drive
recovered from his bedroom in a porn folder and the hard
drive contained photos of the defendant and his family as
well. The heinous nature and pervasiveness of the crime
weighs in favor of remand.

The second factor being the history and
characteristics of the defendant also weigh in favor of
remand. In conversations with an undercover agent, the
defendant made concessions that showed that his conduct
extends far beyond what has been charged and all of which
states he's a dangerous man.

He admitted that his preference was to see

"bubs (ph.) and toddlers getting fucked up" and that he

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 8 of 23 PagelD #: 26

24

25

Proceedings

"loves rape and nasty stuff".

He admitted to having a collection of thousands
of videos and he admitted to sexually abusing his own
nephew in the past.

He also has very significant foreign ties which
creates a considerable flight risk. He's an Australian
National with an Australian passport and he's in this
country on a sponsored working visa. He has no relatives
in the area and it appears he has very few close friends.

He's also not actively working. His role with
the Australian Trade has been suspended and it doesn't
seem he has a stable living condition either. He had
formerly been living with a roommate who I believe is on
the line, Kong Peng (ph.), and they both moved out into
separate accommodations. I understand that if the
defendant is released, he intends to live with his
roommate again in the roommate's new apartment but it's
unclear that this is a stable or consistent living
environment.

And the third condition, the danger imposed by
his release also speaks to the importance of remand here.
The danger is that the defendant will continue to engage
in the crimes for which he's been charged. Here, even if
the Adam Walsh factors don't obviate that danger. A

common condition is that the defendant's electronic

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 9 of 23 PagelD #: 27

24

25

Proceedings

devices and internet usage be monitored. However, if
he's living with Kong Peng, I understand that Kong Peng
is a computer programmer who has a number of different
electronic devices himself for purposes of his work.
There's no ability to monitor what Kong Peng is doing on
his devices or what the defendant is able to do on Kong
Peng's devices.

The same would be true if anyone else came to
that apartment with an electronic device that the
defendant has access to. It's going to be particularly
difficult to monitor this defendant given his practices.
He uses foreign-based end-to-end encrypted platforms
like, Telegram, Flickr and Mega.NZ, each of which
professes to be beyond (audio interference) subpoena
power and which prevent anyone from -- the sender or
recipient of the method from seeing what's been sent.

Likewise, GPS monitoring which is a common
condition, in these cases while helpful, doesn't prevent
the defendant from cutting it and running it. It just
goes pretrial a bit of an advanced notice, so that they
can begin the chase.

And being both an avid collector and
distributor of child pornography, he has been fueling an
industry that viciously and irreparably harms children

and the community at large and if released, there's a

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 10 of 23 PagelD #: 28

24

25

10
Proceedings

Significant concern that he'll continue to do so.

A fourth condition is the strength of the
evidence. The distribution count stems from the
defendant's conversations with undercovers on social
media accounts. The subscriber information for those
accounts including telephone numbers and email addresses
all go back to the defendant, as do the IP hit. In fact,
IP hits show that the defendant accessed some of these
social media accounts from his workplace and the IP hits
go to his own log in at his place at work.

As mentioned, the external hard drive on which
the CP was found had photos of the defendant and his
family on vacation. Accordingly, the evidence here is
very strong and that also creates a flight risk.

Finally, just speaking to flight risk, given
the seriousness of the charges and the sentencing
implications, that also creates the (indiscernible)
incentive for the defendant to flee. He faces a five-
year mandatory minimum on the distribution charges and
the government calculates his guidelines sentencing range
to be between 135 to 168 months imprisonment.

And I should note that the government allowed
the defendant to self-surrender this morning. We gave
defense counsel less than 24-hours notice to do so with

the understanding that HSI agents were poised and ready

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 11 of 23 PagelD #: 29

24

25

11
Proceedings

to arrest and bring the defendant in should he fail to
arrive at the time designated.

At that time, the defendant was unaware of the
charges, the conduct to what they related and the
sentencing implications. It's a very different thing to
think in the abstract that you may be arrested and you
may be in trouble for some of the conduct you engaged in
and to know today that you've been charged with seven
counts and that you face over ten years in prison.

Your Honor, for all those reasons, the
government respectfully requests a permanent order of
detention be ordered because the defendant is both a
serious flight risk and he poses a considerable danger to
the community.

THE COURT: All right.

Counsel?

MR. VARGHESE: Thank you, your Honor. I am
going to just address many of the things about Mr.
Stewart. This is a man who has been in the country now
for approximately eight years. He was gainfully employed
by initially, the Australian Consulate and then the
Australian Trade Commission.

In November -- just let me take a further step
back, he has no prior criminal history. In November, HSI

for the government executed a search warrant on his

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 12 of 23 PagelD #: 30

24

25

12

Proceedings
apartment. He could've fled then, your Honor. Instead
of fleeing then, they didn't arrest him, he hired us,
basically the next day. He came to our office and he
hired us and that point, we reached out to Ms. McGrath
and we informed her we're his counsel, please give us
notice. This client isn't going anywhere. He's going to

self-surrender if you give us the opportunity to do that.

Ms. McGrath already mentioned that he didn't --
she gave us less than 24-hours notice, try 12-hours
notice. I got an email from Ms. McGrath at 7:28 p.m.

Now she did call the office in the morning but just after
a return call with no indication of anything, it was
yesterday, we had two hearings, at 7:28 p.m., I'm at home
with my kids and I see this email saying it's urgent that
we speak. I, after a little phone tag, we get back on
the phone and at approximately 8 o'clock, she tells me
that they've indicted him and needs to surrender at 7:30
a.m. in this morning.

I asked her if he could surrender on Friday. I
had a bunch of conflicts, including taking my own nine-
year-old to get a COVID test because his school has been
shut down, he needs it. So I did that this morning.
That's why Mr. Marshall handled, rightfully he's quite
able and handled the pretrial interview.

I was able to get in touch with Mr. Stewart,

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 13 of 23 PagelD #: 31

24

25

13
Proceedings

explained the situation to him and when Ms. McGrath
speaks about abstract, no, actually that's not even close
to accurate because the search warrant in this case
talked about manufacturing, the charge was manufacture of
child pornography which carries, with the guidelines, far
greater sentencing than what Ms. McGrath described. So
we were to the extent somewhat relieved that he was
charged with distribution and possession.

This is -- and obviously with less than 12-
hours notice for a situation -- you know, it's not a
situation where we can come up with sureties. We were
able to speak to Mr. Kong, who is on the line, who Mr.
Stewart is going to live with, has been living with.
They had to take separate entrances, Mr. Kong, downsized
-- excuse me, separate residences right across the street
from each other because Mr. Stewart upon the notification
of the -- upon the search warrant execution in November,
the government, and I spoke to Ms. McGrath about this,
why this was necessary, the government contacted the
Australian Trade Commission and informed him that he was
under investigation for possession of child pornography
and they promptly suspended him without pay.

So you know, the government created a situation
that we believe was unnecessary, extremely punitive

because he's under investigation. I mean, I would like

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 14 of 23 PagelD #: 32

24

25

14
Proceedings

to think there's a presumption of innocence. I know the
Court understands it, we understand it but that's been
thrown out.

Instead of running, where he could've gone to
some country with a nonextradition treaty -- Australia
has an extradition treaty with the United States,
obviously one of the U.S.'s firm partners of the world,
he didn't choose to run. He didn't try to get his
passport back. They have his passport and he instead
hired us at great financial cost to himself. He's not a
rich man, Judge and a detention in this case is just
punishing a person who doesn't have the resources -- he
spent his resources on hiring us and this is why we were
able to speak to him and get in touch with him and self-
surrender him. He's committed to dealing with this case,
your Honor.

There is no reason why he can't be placed under
house arrest with ankle bracelet, with real-time computer
monitoring as he did in the case and phone monitoring.

You know, the government loves to cast
aspersions on people, especially on people they don't
know and presuming that Mr. Kong is going to be involved
in something that he's not. I mean, these are all
aspersions without basis and so -- without bases, excuses

me.

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 15 of 23 PagelD #: 33

24

25

15
Proceedings

He's not charged with manufacture. In terms of
risk to the community, as Ms. McGrath alluded to, it's a
rebuttable presumption. He's not charged with
manufacturing. The charges are serious. We're not in
anyway underplaying that but I want to address some of
the things that were in the pretrial report, bottom of
page, she assessed him with nonappearance, limited --
number one, pretrial says limited familial property and
financial ties, all -- this is all true. He doesn't have
people here in the United States that can put together a

bond package and obviously, the government requested

detention. No bond package would be sufficient for them.
Yes, he has a substance abuse history. He's
been clean for several months. Despite that, he was

gainfully employed until November when the U.S.
government informed the Australian government that he was
under investigation for child pornography.

His substantial tie to a foreign country,
foreign government are Australia, one of the U.S.'s
possibly main partners with the world, a country that has
an extradition treaty with the United States and yes,
he's a noncitizen, he's here on a work visa.

Access to travel documents, that's not true.
They have their passport.

Unstable and suitable living conditions, Judge,

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 _ Filed 03/08/21 Page 16 of 23 PagelD #: 34

24

25

16
Proceedings

you know, he had to downsize because of his -- that he
was under investigation and in essence what this is is a
veiled way of saying you're not rich enough to have what
they would call suitable living condition.

And in terms of danger, the nature of the
instant offense, Judge, obviously I have had clients in
this district charged with the same things and being able
to be let out on bail. Some of them, unfortunately --
unfortunately, Mr. Stewart doesn't have the money that he
(sic) has but they weren't confined to home detention.

So what we're suggesting to the Court which I
will ensure he's coming back and Mr. Stewart has
demonstrated that, Judge. If he wanted to run, he
would've done so after November. Instead, he hired us.
Ms. McGrath and I speak at 8 p.m. last night. Mr.
Stewart is at Homeland Security at 7:30 a.m. And if
there's anybody who is more committed, I can't think of
anybody with such short notice, more committed to
respecting this court, the Eastern District of New York,
in dealing with these charges than Mr. Stewart. He
didn't have to deplete his savings to hire us and your
Honor, he's here.

And I think, Judge, with ankle bracelet, home
detention, you know, limiting himself to go to pretrial

and our office with prior -- you know, under the normal

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 17 of 23 PagelD #: 35

24

25

17
Proceedings

conditions, monitoring, real time monitoring of his
computers and his phones and there's no -- this man
should be allowed to do that.

Let me take a step back, in addition, he's Type
2 Diabetic, Judge. Obviously puts him at high risk of
COVID mortality, of death from COVID-19. We know the
situations in the MDC and MCC, these have been dealt
with, written about. The chief judges in both the
Southern and the Eastern Districts of New York have been
dealing with this issue, particularly limited access that
defense attorneys have in dealing with this (audio
interference) is we can't just go there the way we used
to be able to. It's very difficult to get an
appointment. I recently had a client who is supposed to
call, have a call arranged with us, and it didn't happen,
Judge. It's been weeks.

THE COURT: I understand that.

MR. VARGHESE: This is the (indiscernible).

THE COURT: I'm very familiar with the
conditions at MDC and MCC in my current role but that, in
my mind, is not the reason to disregard all of the other
factors that one is required to consider under the Bail
Reform Act.

And as the government's attorney has laid out,

these are very serious crimes. There is based on my

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 18 of 23 PagelD #: 36

24

25

18
Proceedings

review of the information that is before me, strong
evidence that the defendant has committed the offenses.
The government has a strong case.

IT am very concerned about the fact that he does
not have -- he's got his position here on a visa, he's
not a citizen of the United States and a green card
holder. He's an Australian National and the fact that we
have an extradition treaty with Australia is better than
having someone who has connections with a country with
which have no extradition treaty or that does not
eliminate the risk that he has great incentive to flee,
given the fact that according to the government, he is
facing a very significant period of time.

I appreciate the fact that his former roommate
has offered to come up with a bond, but I find it
insufficient to overcome the risk of flight that I see
and the danger to the community.

And I just want to make sure I heard Ms.
McGrath properly, did you say that he admitted to one of
the agents that he had sexually abused his nephew? Did I
mishear you on that?

MS. MCGRATH: Your Honor, no. In an undercover
conversation, the defendant admitted -- sorry, the
defendant admitted in a conversation with an undercover

agent that in the past that he had sexually abused his

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 19 of 23 PagelD #: 37

24

25

19
Proceedings

nephew.

THE COURT: All right. Well, so then I find
he's not only a risk of flight but a danger to the
community and I'm going to order him detained pending
trial.

The only other issue, I guess is what about
time?

MS. MCGRATH: Your Honor, I heard from Judge
Kuntz's deputy that they could have the first status
conference on Friday, March 12th at 10:30 a.m. The
government would ask that time be excluded until then so
that the government can produce discovery to defense
counsel.

THE COURT: Mr. Varghese, do you have a
position on the order of excludable delay?

MR. VARGHESE: We have no objection to the
exclusion of time, your Honor.

THE COURT: All right. So Mr. Stewart, under
the constitution and the laws of the United States,
you're entitled to a speedy and public trial by jury
commencing within 70 days of the filing of the indictment
that's the formal charges that I reviewed with you
earlier.

What the government has asked me to do is

exclude or not count the time from today until March 12th

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 20 of 23 PagelD #: 38

24

25

20
Proceedings

when we're going to be appearing before the district
judge in this matter and the reason for excluding the
time is that during this period, the government will be
providing your attorney with information, discovery,
evidence that they have against you with respect to these
charges and potentially engaging in discussions with your
attorney to see if the case can be resolved through a
plea rather than through trial.

Has this been explained to you by your
attorney, Mr. Stewart?

THE DEFENDANT: Yes, your Honor.

THE COURT: And do you consent to proceeding by
-- in other words, to me entering this order of
excludable delay at this time?

THE DEFENDANT: Sorry, your Honor, I didn't
understand that.

THE COURT: Do you agree to me entering an
order excluding the time from today until you see the
district judge in this case?

THE DEFENDANT: I'm not sure what that means,
your Honor. Could I ask Mr. Varghese's advice on that?

THE COURT: Sure. Mr. Varghese, maybe I am not
explaining it properly.

MR. VARGHESE: Yeah. I did not, in fairness to

Mr. Stewart, I did not discuss speedy trial exclusions

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 21 of 23 PagelD #: 39

24

25

21
Proceedings

with him. It's normally something I don't -- we don't do
in advance.

This is procedural, Darren and it's necessary
for us to receive the discovery and to challenge the
assertions made by Ms. McGrath today.

THE DEFENDANT: All right.

THE COURT: Okay. So do you agree?

THE DEFENDANT: Yes, your Honor.

THE COURT: Okay. Anything else today?

MS. MCGRATH: Your Honor, I don't believe we've
done the Rule 5 app notice.

THE COURT: Yes, thank you. Thank you. I feel
like I've done it with you already like three or four
times, so that's why I forgot.

So under the revised amended Rule 5 app, I
direct the prosecution to comply with its obligation

under Brady v. Maryland and its progeny to disclose to

the defense all information whether admissible or not,
that is favorable to the defendant, material either to
guilt or to punishment and known to the prosecution.

Possible consequences for noncompliance may
include dismissal of individual charges or the entire
case, exclusion of evidence and professional discipline
and court sanctions on the attorney's responsible.

I will be entering a written order more fully

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 22 of 23 PagelD #: 40

24

25

22
Proceedings

describing this obligation and the possible consequences
of failing to meet it and I direct the prosecution to
review and comply with that order.

Ms. McGrath, does the prosecution confirm that
it understands it obligations and will fulfill them?

MS. MCGRATH: Yes, your Honor and the
government understands will comply.

THE COURT: All right. Anything else?

MS. MCGRATH: Nothing for the government.
Thank you, your Honor.

THE COURT: Counsel, anything else for the
defendant?

MR. VARGHESE: Not at present, your Honor.

THE COURT: All right. Thank you, everyone.
Have a nice evening.

THE CLERK: Thank you, everyone.

MS. MCGRATH: Thank you.

(Matter Concluded)

-o00-

Transcriptions Plus II, Inc.

Case 1:21-cr-00042-WFK Document8 Filed 03/08/21 Page 23 of 23 PagelD #: 41

23

I, LINDA FERRARA, hereby certify that the
foregoing transcript of the said proceedings is a true
and accurate transcript from the electronic sound-
recording of the proceedings reduced to typewriting in

the above-entitled matter.

I FURTHER CERTIFY that I am not a relative or
employee or attorney or counsel of any of the parties,
nor a relative or employee of such attorney or counsel,
or financially interested directly or indirectly in this

action.

IN WITNESS WHEREOF, I hereunto set my hand this

8th day of March 2021.

Linda Ferrara

AAERT CET 656
Transcriptions Plus II, Inc.

Transcriptions Plus II, Inc.
